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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ALLISON KATHLEEN AYTES,
Plaintiff,
V. Civil Action No. 23-0911 (CIN)

MARTIN J. GRUENBERG, Chairman,
Federal Deposit Insurance Corporation,

Defendant.

SUPPLEMENTAL BRIEF SUPPORTING PLAINTIFF’S TIMELY
AND PROPER CIVIL COMPLAINT FILING

INTRODUCTION

PLAINTIFF, ALLISON KATHLEEN AYTES (‘Plaintiff’) submits a Supplemental Brief
in support of Plaintiff’s timely and proper Civil Complaint filing, per this Court’s Order permitting
her to clarify the date and means by which she received the U.S. Equal Employment Opportunity
Commission’s (“EEOC”) final decision on appeal. Plaintiff renews her statement of facts and
claims against Defendant presented in the Amended Complaint and opposes Defendant’s Motion
to Dismiss asserting that Plaintiff “filed her initial Complaint in federal court more than ninety
days after receiving the EEOC’s final decision.” See (ECF No. 31 at 6). Plaintiff addresses
Defendant’s assertion and this Court’s question about the timely and proper filing, stating,

(1) Plaintiff received EEOC decision by certified mail at home address December 5, 2020.

(2) EEOC decision stated Plaintiff had the right to file a civil action within 90 calendar

days from the date Plaintiff received the decision. ee
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(3) 90 calendar days from the date Plaintiff received the decision would toll on March 5,
2021.

(4) Plaintiff Filed the Initial Complaint March 1, 2021, within the 90-day deadline.

(5) Plaintiff Must Use Postal Services for Document Filing.

Accordingly, and for the reasons stated herein, Plaintiff should be found to have timely and

properly filed her initial Complaint with the Court within the 90-day deadline.

ARGUMENT

I. Plaintiff Received EEOC Decision December 5, 2020.

Under Federal Rules of Civil Procedure § 6(a)(1) for computing time stated in days,
Plaintiff shall “exclude the day of the event that triggers the period,” in this case, the EEOC’s
decision on Complainant’s Right to File a Civil Action pursuant to Appeal No. 2019003091 (July
23, 2020), providing Plaintiff may file an action “in an appropriate United States District Court
within ninety (90) calendar days from the date of receipt of the decision.” (ECF 1) Plaintiff
received the Court’s decision via U.S. Postal Service certified mail on December 5, 2020, at her
home address of 3313 W. Houston Place, Broken Arrow, OK 74012, thereby triggering the 90-day
start date one day later, December 6, 2020.

If this Court does not apply the trigger date as December 5, 2020, then Plaintiff’s 90-day
deadline would have started December 3, 2020, the day after the EEOC electronically filed the
right to sue on December 2, 2020. Therefore, Plaintiff’s initial filing date of March 1, 2021, was
within the 90-day deadline using either calendar start date.

I. Plaintiff Filed the Initial Complaint on March 1, 2021, within the 90-day deadline.

Pursuant to Code of Federal Regulations § 148.246 (a), “a document submitted by mail is

considered filed on the date it is postmarked,” and Plaintiff mailed her initial Complaint to the U.S.
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District Court for the Northern District of Oklahoma via the U.S. Postal Service (“USPS”) Priority
Express postmarked March 1, 2021. See Compl. at 7 (ECF No. 1). The Court Clerk’s photocopy
of the USPS envelope shows a postmark of March 1, 2021, and guaranteed delivery date of March
2, 2021, with the words “Postage mailed 3/1/21” and the recipient’s initials written under the
postage stamp. Therefore, Plaintiff filed her initial Complaint with the Court within the 90-day
deadline, which would have tolled on March 5, 2021. See (ECF No. 1 at 7).

I. Plaintiff Must Use Postal Services for Document Filing.

Since Plaintiff is Pro Se, she must submit documents via mail services and, in this case,
made reasonable efforts to ensure her case was timely and properly filed with Oklahoma District
Court. Plaintiff’s request to electronically file documents via the Case Management/Electronic
Case Files (CM/ECF) System but was denied by the Court on June 18, 2021. Therefore, Plaintiff

will continue to use postal services to file case documents. See (ECF No. 7).

CONCLUSION
For the above stated reasons, Plaintiff requests the Court agree that Plaintiff filed her
Complaint within the 90-day deadline and grant her request to deny Defendant’s Motion to Dismiss

Plaintiff’s Complaint.

Dated: April 3, 2024 Respectfully submitted,

Altar. Katha Te
By: Allison Kathleen Aytes, Plaintiff‘

218 Barbee Court

Marina, CA 93933

Phone: (214) 799-6089

Email: Allison.aytes@gmail.com
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UNITED STATES DISTRICT COURT
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Federal Deposit Insurance Corporation,

Defendant.

[PROPOSED] ORDER

UPON CONSIDERATION of Defendant’s Motion to Dismiss, Plaintiff’s Opposition
thereto, and the entire record herein, it is hereby

ORDERED that the Defendant’s Motion is DENIED.

SO ORDERED:

Dated this _ day of , 2024

CARL J. NICHOLS
United States District Judge
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CERTIFICATE OF SERVICE

Thereby certify that on April 3, 2024, I filed the foregoing with the Clerk of the U.S. District
Court for the District of Columbia Clerk of Court via Federal Express to the following addresses:

UNITED STATES DISTRICT COURT
District of Columbia

333 Constitution Avenue. N.W.
Washington, D.C. 20001

Clerk’s Office, Room 1225

STEPHANIE R. JOHNSON

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Office Phone: (202) 252-7974

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MM. K- Axe >
By: Allison K. Aytes, Plaintiff
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